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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 NATASHA NUNN-PAIGE and                         )
 DEMETRIUS PAIGE,                               )
                                                )
                              Plaintiffs,       )
                                                )
                      v.                        )
                                                )
 THE UNITED STATES OF AMERICA,                  )
 JAMES WORTMAN, M.D., ALAN                      )
                                                     No. 19-cv-02352
 PEACEMAN, M.D., JUAN APARICIO,                 )
 M.D., OLUWATENIOLA BROWN, M.D.,                )
                                                     Judge Kendall
 NORTHWESTERN MEMORIAL                          )
 HOSPITAL, NORTHWESTERN                         )
                                                     Formerly Case No. 2018 L 11716
 MEMORIAL FACULTY FOUNDATION,                   )
                                                     Circuit Court of Cook County, Illinois
 RIVERFOREST ADVANCED IMAGING                   )
 CENTER d/b/a VHS ACQUISITION                   )
 SUBSIDIARY NUMBER 4, INC., WEST                )
 SUBURBAN HOSPITAL MEDICAL                      )
 CENTER d/b/a RESURRECTION                      )
 UNIVERSITY, and THOMAS FINGLER,                )
 M.D.,                                          )
                                                )
                              Defendants.       )

                            JOINT INITIAL STATUS REPORT

       Plaintiffs Natasha Nunn-Paige and Demetrius Paige, by their attorney Bradley Z.

Schulman, and the United States of America, by its attorney, John R. Lausch, Jr., United States

Attorney for the Northern District of Illinois, submit the following joint initial status report

pursuant to the Court’s April 26, 2019 Order [14]:

       1. The attorneys of record for each party including the attorney(s) expected to try
          the case.

 For the Plaintiffs Natasha Nunn Paige               For the Defendant the United States of
 and Demetrius Paige:                                America:

 BRADLEY Z. SCHULMAN                                 SARAH F. TERMAN
 Motherway & Napleton, LLP                           Assistant United States Attorney
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       2. The basis for federal jurisdiction

       The jurisdictional basis for this action is somewhat unique. This is a medical malpractice

case brought by plaintiffs in state court against defendant Dr. James Wortman, and several

“respondents-in-discovery,” including Dr. Yam Tong, a deemed employee of the Public Health

Service. Under Illinois rules of civil procedure, plaintiffs may designate a person or an entity as a

“respondent in discovery” when they believe the person or entity has information essential to the

determination of who should be named as additional defendants in the state court action. A person

or entity named as a respondent-in-discovery is required to respond to discovery in the same

manner as a named defendant. Plaintiffs then have six months after naming a person or entity as

a respondent-in-discovery to convert them to a defendant in the state court civil action.

       In this case, plaintiffs named Dr. Yam Tong (a deemed employee of the Public Health

Service) as a respondent-in-discovery. When Dr. Tong failed to respond to discovery requests,

plaintiffs filed a Motion for Default Judgment against him in state court. At that point, although

Dr. Tong was not a named defendant, the case became ripe for removal. See Swett v. Schenk, 792

F.2d 1447, 1451 (9th Cir. 1986) (third-party discovery disputes in state court may be removed to

federal court when the federal employee or agency confronts any form of punishment or jeopardy

for declining to comply with discovery demands); see also Edwards v. United States Dept. of

Justice, 43 F.3d 312, 314 (7th Cir. 1994) (motion to compel compliance with a subpoena removed

from state court pursuant to § 1442(a)). Removal to this Court automatically transferred the entire

docket, including plaintiffs’ default action against Dr. Tong, from the state court forum.

       3. The status of any settlement discussions and whether the parties request a
          settlement conference

       Counsel for plaintiffs and counsel for the United States have conferred and agree to the

following resolution. Plaintiffs request leave to withdraw their Motion for Default Judgment; and,


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once withdrawn, plaintiffs will move the Court to remand this action back to the Circuit Court of

Cook County. Counsel for the United States will not oppose the plaintiffs’ motion to remand.



                                            Respectfully submitted,

                                            NATASHA NUNN PAIGE
                                            AND DEMETRIUS PAIGE

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